     Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 1 of 8




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

GABRIEL MIRANDA, SR., and                        §
MARIA FUENTES, Individually                      §
and as Representatives of the Estate of          §
GABRIEL MIRANDA, JR.,                            §
                                                 §       CIVIL ACTION NO. 7:18-CV-00353
v.                                               §       JURY
                                                 §
NAVISTAR, INC., NAVISTAR                         §
INTERNATIONAL CORPORATION,                       §
IC BUS, LLC, AND IC BUS OF                       §
OKLAHOMA, LLC                                    §

DEFENDANTS NAVISTAR, INC., NAVISTAR INTERNATIONAL CORPORATION, IC
    BUS, LLC, AND IC BUS OF OKLAHOMA, LLC’S MOTION TO COMPEL


       Defendants Navistar, Inc., Navistar International Corporation, IC Bus, LLC and IC Bus

of Oklahoma, LLC (“Defendants”) file this Motion to Compel and in support of their Motion

would show the Court the following.

                         I.      SUMMARY OF THE ARGUMENT

       Plaintiffs filed this lawsuit after their son, Gabriel Miranda, Jr. (“Miranda”), died after he

came out of the rear emergency exit door on a school bus that he was riding in to attend a class

field trip. Plaintiffs have alleged that the bus was unreasonably dangerous and was defectively

designed, manufactured, distributed and/or marketed and have sued Defendants for damages.

There is evidence in this case that Miranda committed suicide as he jumped out of the back of

the school bus. The coroner reached that conclusion following her review of the investigation of

this matter. Whether Miranda committed suicide is key evidence regarding defenses available in

this case and is relevant to the claims Plaintiffs have made in this case. Therefore, Defendants

have requested that Plaintiffs authorize Defendants to obtain the Call Data Records (“CDRs”)

related to Miranda’s cell phone and to allow Defendants to search Miranda’s Google account.
      Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 2 of 8




The data from those sources is important to provide information regarding Miranda’s state of

mind and to demonstrate whether he was contemplating suicide prior to his death. Plaintiffs

have refused to provide authorizations for Defendants to obtain that information. Therefore,

Defendants request that this Court compel Plaintiffs to provide authorizations for the CDRs and a

search of Miranda’s Google account.

                                 II.      FACTUAL BACKGROUND

        On November 14, 2016, Miranda, a 13-year-old eighth grader, was riding in a school bus

with his classmates to attend a field trip. Based on witness affidavits, at some point during the

ride, Miranda got up from his seat on the last row of the bus, opened the emergency exit door,

and jumped from the school bus. His fall from the moving school bus resulted in fatal injuries

and Miranda was pronounced dead at the hospital later that morning.

        Defendants have pled contributory negligence as well as assumption of the risk on the

part of Miranda. 1     A key issue in this case is whether Miranda was in the act of committing

suicide when he jumped from the moving school bus.

        Pursuant to Defendants’ request, Plaintiffs have provided the cell phone that was in

Miranda’s possession at the time of his death and have permitted information from the phone to

be downloaded and then examined and analyzed by Defendants’ retained expert, Scott Greene of

Evidence Solutions, Inc. 2 Defendants have shared all of the information downloaded by Mr.

Greene with Plaintiffs.

        Mr. Greene has informed Defendants that, in addition to the information he obtained

from the cell phone, he needs to review the CDRs from the cell phone provider to be able to have


1 See Defendants Navistar, Inc., Navistar International Corporation, IC Bus, LLC, and IC Bus of Oklahoma, LLC’s
First Amended Answer to Plaintiffs’ First Amended Complaint, on file herein.
2 Mr. Greene’s affidavit and curriculum vitae are attached hereto as Exhibit “A” and are incorporated herein by
reference as if fully set forth at length.


                                                 Page 2 of 8
          Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 3 of 8




objective information that supports the data collected on the phone. 3 As Mr. Greene states in his

affidavit, the CDRs provide objective information regarding the calls and text messages sent and

received, locations where calls or texts were made, information regarding calls that are not

captured on the actual cell phone, and information regarding data usage. 4 For example, the data

from the phone itself may only show that there were two text messages sent from a phone in one

day, but the CDRs may show that there were actually twenty texts sent from a phone in one day,

indicating that information was removed or deleted from the actual cell phone. 5 Additionally,

the CDRs will show how much data was used each day by the phone’s user, including Internet

browsing as well as app usage. 6 The information downloaded from the phone shows which apps,

including social media apps, were accessed in a day and the amount of data, which can then be

compared to the data on the CDRs for verification. 7

              We know from the data collected from the phone that Miranda had an active Google

account. A search of his Google account will provide information regarding his state of mind

through the email communications and searches he had prior to his death.

              Mr. Greene notes that CDRs provide information that cannot be obtained from the phone
          8
itself.       For example, if a cell phone user is called but that call goes to voicemail due to a lack of

service or if the phone is off, that call will not be recorded on the phone. 9 However, that call is

recorded on the CDRs. 10 If a person called another person twenty times in one day, and each

time the call went to voicemail, the CDRs would be the only source to determine that those calls



3 See Scott Greene’s affidavit: Exhibit “A” paragraph 15.
4 See Scott Greene’s affidavit: Exhibit “A” paragraph 15.
5 See Scott Greene’s affidavit: Exhibit “A” paragraph 16.
6 See Scott Greene’s affidavit: Exhibit “A” paragraph 18.
7 See Scott Greene’s affidavit: Exhibit “A” paragraph 18.
8 See Scott Greene’s affidavit: Exhibit “A” paragraph 19.
9 See Scott Greene’s affidavit: Exhibit “A” paragraph 19.
10 See Scott Greene’s affidavit: Exhibit “A” paragraph 19.


                                                   Page 3 of 8
      Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 4 of 8




were made. 11 In addition to verifying the data on the phone, that information is important in

identifying key witnesses in this case, in particular, ones who Miranda interacted with most

frequently prior to his death.

         Since obtaining the data from the actual cell phone, we now know that Miranda’s mother,

Plaintiff Maria Fuentes, had access to the phone as she sent text messages from the cell phone

after Miranda’s death. 12       Objective verification of the data that is on the cell phone is of

paramount importance when there is evidence that a party to the litigation had access to and used

the cell phone at issue after Miranda’s death. The CDRs can provide that objective verification

for all parties.

         Defendants have specifically requested Plaintiffs to agree voluntarily to authorize

Defendants to obtain the CDRs and a search of Miranda’s Google account. Defendants sent

Plaintiffs an authorization to allow Defendants to obtain the CDRs on July 9, 2019. Plaintiffs

responded that they would only sign an authorization for the CDRs for the date of Miranda’s

death.    Defendants responded on July 10, 2019, explaining that the CDRs would provide

objective evidence regarding the information on the phone and stating that Defendants would

agree to limit the CDR records to the date of the accident and one year prior to the date of the

accident. Plaintiffs responded on July 24, 2019, that they could not agree. Defendants again

responded on July 24, 2019 and explained the purpose of the CDRs and agreed to seek only the

day of the accident and one month before of the CDR records. On July 24, 2019, Plaintiffs

responded that they could not agree to even one month before and advised that if Defendants

wanted the data records, Defendants would need to get the Court’s ruling.

         Similarly, on October 8, 2019, Defendants provided a Google Account Protocol and an

11 See Scott Greene’s affidavit: Exhibit “A” paragraph 19.
12 The information from Miranda’s phone indicates that Maria Fuentes sent texts and/or Kik messages from the
phone on December 2, 4, 8, 15, 16, and 18, 2016.


                                                  Page 4 of 8
       Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 5 of 8




authorization for Google account records of Miranda. After not hearing from Plaintiffs whether

they would agree to the Google Account Protocol and authorization, Defendants requested the

items again on October 11, 2019. Plaintiffs responded on October 14, 2019 that they would not

agree to the discovery of the Google account and the protocol.                         On October 28, 2019,

Defendants’ counsel sent a copy of this motion to Plaintiffs’ counsel to determine if the parties

could reach an agreement. Plaintiffs’ counsel responded on October 31, 2019, that she would not

agree to produce the requested information and that she is opposed to the motion. As a result,

Defendants have filed this Motion seeking assistance from the Court.

                                 III.     ARGUMENTS AND AUTHORITIES

        Federal Rule of Civil Procedure 26(b)(1) outlines the scope of permissible discovery.

That rule provides as follows:

        Scope in General. Unless otherwise limited by court order, the scope of discovery is as
follows: Parties may obtain discovery regarding any nonprivileged matter that is relevant to any
party’s claim or defense and proportional to the needs of the case, considering the importance of
the issues as state in the action, the amount in controversy, the parties’ relative access to relevant
information, the parties’ resources, the importance of the discovery in resolving the issues, and
whether the burden or expense of the proposed discovery outweighs its likely benefit.
Information within this scope of discovery need not be admissible in evidence to be
discoverable. 13

Courts construe discovery rules liberally to serve the purpose of discovery: providing parties

with information essential to the proper litigation of all relevant facts, eliminating surprise and

promoting settlement. 14 The threshold for relevance at the discovery stage is lower than at the
               15
trial stage.        Unless it is clear that the information sought can have no possible bearing on a

party’s claim or defense, the request for discovery should be allowed. 16 The party resisting



13 See FED R. CIV. P. 26(b)(1).
14 See Ferko v. National Ass’n for Stock Car Auto Racing, Inc.., 218 F.R.D. 125, 132 (E.D. Tex. 2003)(citing
Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 351 (1978).
15 See Rangel v. Gonzalez Mascorro, 274 F.R.D. 585, 590 (S.D. Tex. 2011).
16 See Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005).


                                                   Page 5 of 8
      Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 6 of 8




discovery has the burden of establishing lack of relevance by demonstrating that the requested

information does not come within the broad scope of relevance or that the potential harm caused

by the discovery would outweigh the ordinary presumption in favor of broad disclosure. 17

Where the relevance is in doubt, the court should be permissive in allowing discovery. 18

        It is important to note that Rule 26(b)(1) clearly states that information that is within the

scope of discovery need not be admissible in evidence to be discoverable. 19 Additionally, Rule

26(b)(1) defines the scope of what is discoverable not as any nonprivileged facts, but, more

broadly, as “any nonprivileged matter.”(emphasis added). 20 That is, the scope of discovery is

not limited simply to facts, but may entail other matters that remain relevant to a party’s claims

or defenses, even if not strictly fact-based. 21

        In this case, Defendants have pled the defenses of contributory negligence as well as

assumption of the risk on the part of Miranda. 22 At issue is whether Miranda’s death was the

result of his intent to commit suicide. Clearly, information regarding Miranda’s state of mind is

relevant to Defendants’ defenses of contributory negligence and assumption of the risk. As

shown above, Mr. Greene’s affidavit sets forth the reasons why the CDRs and search of

Miranda’s Google account are important. As he concludes in his affidavit: “The detailed CDRs

are important to my analysis of the cell phone data in this case as they provide objective

information regarding the data that is downloaded from the phone.” 23 The CDRs and Google

account will provide relevant objective data that is important to available defenses in this case as

well as claims asserted by Plaintiffs.

17 Id. at 470-471.
18 See Rangel, 274 F.R.D. at 590.
19 See FED R. CIV. P. 26(b)(1); accord Booth v. City of Dallas, 312 F.R.D. 427, 433 (N.D. Tex. 2015).
20 See FED R. CIV. P. 26(b)(1).
21 See In re Blue Cross Blue Shield, No. 2:13-CV-20000-RDP, 2015 WL 9694792, at *2 (N.D. Ala. Dec. 9, 2015).
22 See TEX. CIV. PRAC. & REM. CODE § 93.001(a)(2).
23 See Scott Greene’s affidavit: Exhibit “A” paragraph 23.


                                                Page 6 of 8
      Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 7 of 8




                            IV.     CONCLUSION AND PRAYER

        Defendants are entitled to have the CDR records and a search of Miranda’s Google

account. Without an examination of those sources, Defendants do not have all the information

and data necessary to properly evaluate Miranda’s state of mind and cause of his death, which

are clearly relevant to their defenses of contributory negligence and assumption of the risk and

Plaintiffs’ claims against Defendants. Additionally, Defendants need objective verification of

the information that is on the phone.

        Defendants Navistar, Inc., Navistar International Corporation, IC Bus, LLC and IC Bus

of Oklahoma, LLC respectfully pray that the Court grant Defendants’ Motion to Compel

Production and order Plaintiffs Gabriel Miranda, Sr. and Maria Fuentes to authorize Defendants

to obtain the CDRs and a search of Miranda’s Google account and for all other and further relief,

both general and special, at law and in equity, to which they may show themselves justly

entitled.

                                            Respectfully submitted,

                                            By: /s/ William J. Collins, III
                                                    William J. Collins, III
                                                    Texas State Bar No. 04621500
                                                    Fed. ID No. 3441
                                                    2500 Two Houston Center
                                                    909 Fannin Street
                                                    Houston, Texas 77010-1003
                                                    Telephone: (713) 951-1000
                                                    Facsimile: (713) 951-1199
                                                    wcollins@sheehyware.com

                                            ATTORNEY-IN-CHARGE FOR
                                            DEFENDANTS NAVISTAR, INC., NAVISTAR
                                            INTERNATIONAL CORPORATION, IC BUS,
                                            LLC AND IC BUS OF OKLAHOMA, LLC




                                           Page 7 of 8
      Case 7:18-cv-00353 Document 32 Filed on 11/08/19 in TXSD Page 8 of 8




Of Counsel
SHEEHY, WARE & PAPPAS, PC
Laura S. Favaloro
Fed. ID No. 15581
Texas State Bar No. 00784929
Travis Cade Armstrong
Fed. ID No. 1690801
Texas State Bar No. 24069312


                            CERTIFICATE OF CONFERENCE

       I hereby certify that the undersigned counsel has conferred with Plaintiffs’ counsel in an
attempt to resolve the discovery issue presented in this motion. The parties have been unable to
reach an agreement regarding the disposition of the motion and Court intervention is required.

                                                   /s/ William J. Collins, III
                                            William J. Collins, III



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument has been
forwarded to all counsel of record in compliance with the Federal Rules of Civil Procedure, on
November 8, 2019.

                                            /s/     William J. Collins, III
                                                    William J. Collins, III

3604540_1




                                           Page 8 of 8
